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  12
                          UNITED STATES DISTRICT COURT
  13
                        CENTRAL DISTRICT OF CALIFORNIA
  14
       THE LOS ANGELES LAKERS,                 Case No. 2:21-cv-02281-AB (MRWx)
  15   INC.,
  16                    Plaintiff,             DEFENDANT FEDERAL
  17        v.                                 INSURANCE COMPANY’S
                                               NOTICE OF INTERESTED
  18   FEDERAL INSURANCE                       PARTIES PURSUANT TO LOCAL
       COMPANY,                                RULE 7.1-1 AND DISCLOSURE
  19                                           STATEMENT PURSUANT TO
                        Defendant.             FEDERAL RULE OF CIVIL
  20                                           PROCEDURE 7.1
  21                                           Judge: Hon. Andre Birotte Jr.
                                               Courtroom: 7B
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                                               Complaint filed: March 15, 2021
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              DEFENDANT’S NOTICE OF INTERESTED PARTIES AND DISCLOSURE STATEMENT
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   1         Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 7.1-1, the
   2   undersigned, counsel of record for Defendant Federal Insurance Company, certifies
   3   that the following listed parties may have a pecuniary interest in the outcome of this
   4   case. These representations are made to enable the Court to evaluate possible
   5   disqualification or recusal.
   6         Defendant Federal Insurance Company is a wholly-owned subsidiary of
   7   Chubb INA Holdings Inc., which is 80% owned by Chubb Group Holdings Inc. and
   8   20% owned by Chubb Limited. Chubb Group Holdings Inc. is a wholly-owned
   9   subsidiary of Chubb Limited. Chubb Limited is the ultimate parent and the only
  10   publicly traded company (NYSE: CB).
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        Dated: March 31, 2021                      O’MELVENY & MYERS LLP
  13                                               DANIEL M. PETROCELLI
                                                   RICHARD B. GOETZ
  14                                               ZOHEB P. NOORANI
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  16                                               By: /s/ Richard B. Goetz
                                                       Richard B. Goetz
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                                                   Attorneys for Defendant
  19                                               FEDERAL INSURANCE COMPANY
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               DEFENDANT’S NOTICE OF INTERESTED PARTIES AND DISCLOSURE STATEMENT
